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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                                                                  Ck Ao.).o4 5Ar/Hg
 TINITED STATES OF AMERICA,                 )       INDICTMENT
                                            )
                     Plaintiff.             )       18 u.s.c. $ e22(g)(r)
                                            )       18 u.s.c. se24(d)(r)
              V.                            )       18 U.S.C. $ e2a(e)(1)
                                            )       28 u.S.c. $ 2a61@)
 ROMELLE DARRYL           SMITH,            )
                                            )
                     Defendant.             )

      THE UNITED STATES GRAND ruRY CHARGES THAT:

                                        COUNT   1
            (Felon in Possession of a Firearm   - Armed Career Criminal)
      On or about July 20,2020, in the State and District ofMinnesota, the defendant,

                           ROMELLE DARRYL SMITH.

having been previously convicted of the following crimes, each of which was

punishable by imprisonment for a term exceeding one year and was a violent felony

committed on an occasion different from the others, namely,

                                                                               Date of
                                            Jurisdiction of
                Crime                                                        Conviction
                                             Conviction                     (in or about)
          Vehicular Hiiackine            Cook County, Illinors          Februarv 2008
   Asgji av ated Vehicular Hii ackine    Cook Counw. Illinors           December 20lt
                                          Hennepin County,
       Second Degree Assault                                                January 2017
                                             Minnesota

and knowing he had been convicted of at leas one crime punishable by imprisonment

for a term exceeding one year, did knowingl possess in and affecting interstate and

foreign commerce a frearm, that is, a Ruger LCP, serial number 371245666, with              a
                                                                                *$e
                                                                                       gngh*mo

                                                                                    sEP 1?      430-L
            CASE 0:20-cr-00207-JRT-DTS Doc. 1 Filed 09/17/20 Page 2 of 2

United States v. Romelle Darr.vl Smith



Viridan laser attached, all in violation of Title 18, United States Code, Sections

e   22(9)(1) and e 24(e)(1)   .




                                  FORFEITURE ALLEGATIONS

         If convicted of Count 1 of this Indictment, the defendant,

                                  ROMELLE DARRYL SMITH.

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

924(d)(I), and Title 28, United States Code, Section 2461(c), any firearms,

ammunition, and accessories (including magaztnes) involved in, connected with, or

used    in any knowing violation of Title         18, United States Code, Section 922(9),

including, but not limited to a Ruger LCP, serial number 371245666, with a Viridan

laser attached and anv ammunition and accessories seized therewith.

                                         A TRUE BILL



UNITED STATES ATTORNEY                                FOREPERSON




                                              2
